            Case 18-11031-amc                        Doc         Filed 03/27/20 Entered 03/27/20 20:13:42                                  Desc Main
   )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH               Document      Page 1 of 9
Debtor 1                 .RQVWDQWLQRV7]XPDNDULV
                         ___B_______B_____BB_________BBBBB___________________________BBBBBBBB_


Debtor 2                .DWKHULQH7]XPDNDULV
                        _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

                                        (DVWHUQ'LVWULFWRI3HQQV\OYDQLD 3KLODGHOSKLD
8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

             
&DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBB



 2IILFLDO)RUP 410S1
 1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                                                                                     

 ,IWKHGHEWRU¶VSODQSURYLGHVIRUSD\PHQWRISRVWSHWLWLRQFRQWUDFWXDOLQVWDOOPHQWVRQ\RXUFODLPVHFXUHGE\DVHFXULW\LQWHUHVWLQWKH
 GHEWRU¶VSULQFLSDOUHVLGHQFH\RXPXVWXVHWKLVIRUPWRJLYHQRWLFHRIDQ\FKDQJHVLQWKHLQVWDOOPHQWSD\PHQWDPRXQW)LOHWKLVIRUP
 DVDVXSSOHPHQWWR\RXUSURRIRIFODLPDWOHDVWGD\VEHIRUHWKHQHZSD\PHQWDPRXQWLVGXHSee Bankruptcy Rule 3002.1.
 1DPHRIFUHGLWRU                                                                                                           
                                                                                                 &RXUWFODLPQR LINQRZQ BBBBBBBBBBBBBBBBBBBBBBB
 -30RUJDQ&KDVH%DQN1DWLRQDO$VVRFLDWLRQ




                                                                                                 'DWHRISD\PHQWFKDQJH
                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                             
                                                                                                                                            _____________


                                                                                                 1HZWRWDOSD\PHQW
                                                                                                                                            
                                                                                                                                           $____________BBBB
                                                                                                 Principal, interest, and escrow, if any
 /DVWGLJLWVof any number you use to
 LGHQWLI\WKHGHEWRU¶VDFFRXQW                                    ____
                                                                  ____  ____
                                                                           ____
                                                                              

   3DUW           (VFURZ$FFRXQW3D\PHQW$GMXVWPHQW

     :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VHVFURZDFFRXQWSD\PHQW"

        
        
             No
        ✔    <HV$WWDFKDFRS\RIWKHHVFURZDFFRXQWVWDWHPHQWSUHSDUHGLQDIRUPFRQVLVWHQWZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ'HVFULEHWKHEDVLV
             IRUWKHFKDQJH,IDVWDWHPHQWLVQRWDWWDFKHGH[SODLQZK\



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             &XUUHQWHVFURZSD\PHQWBBBBBBBBBBBBBBBBB                                                                         
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     :LOOWKHGHEWRU¶VSULQFLSDODQGLQWHUHVWSD\PHQWFKDQJHEDVHGRQDQDGMXVWPHQWWRWKHLQWHUHVWUDWHRQWKHGHEWRU V
        YDULDEOHUDWHDFFRXQW"
        
        
        ✔    No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
             DWWDFKHGH[SODLQZK\



             &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                      1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

             &XUUHQWSULQFLSDODQGLQWHUHVWSD\PHQW $ ______________BBB_                   1HZSULQFLSDODQGLQWHUHVWSD\PHQW $ ___________BBB____

  3DUW2WKHU3D\PHQW&KDQJH


        :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VPRUWJDJHSD\PHQWIRUDUHDVRQQRWOLVWHGDERYH"
           
           ✔
           
                No
                Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
            5HDVRQIRUFKDQJH



                      &XUUHQWPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB                             1HZPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB
                                                                                                 
 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                               page 1
            .RQVWDQWLQRV7]XPDNDULV                                                                   
      Case 18-11031-amc
            _____BB_________________________________________________
      Debtor 1
            First Name
                                           Doc Filed
                            Middle Name
                                                           03/27/20 Entered 03/27/20
                                               Last Name
                                                                                            20:13:42
                                                                              Case number (LINQRZQ)           Desc Main
                                                                                                     ______________________
                                               Document            Page 2 of 9
 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 &KHFNWKHDSSURSULDWHER[

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQSURYLGHGLQWKLVFODLPLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH
 LQIRUPDWLRQDQGUHDVRQDEOHEHOLHI




 8    /s/Tina R. Lyons, a/k/a Tina Lyons
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    03/24/2020
                                                                            'DWHBBBBBBBBBBBBBBB




 Print:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        Tina R. Lyons, a/k/a Tina Lyons                                            Vice President
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company JPMorgan Chase Bank, N.A.
         _B____________________BB____________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            ___________________________B_________BB______BB______________
            Number                  Street

            700 Kansas Lane, Mail Code LA4-5555
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Monroe                                  LA      71203
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     866-243-5851                                                  PCN_Escalations@chase.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                  (PDLO




Official Form 410S1                                       1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                            page 
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                                                    Document
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                                             Eastern District of Pennsylvania (Philadelphia)


                                                      Chapter 13 No. 18-11031
                                                      Judge: Jean K. FitzSimon

In re:
Konstantinos Tzumakaris & Katherine Tzumakaris
                                             Debtor s 

                                             CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before March 30, 2020 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid


Debtor:                               %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLG
                                       Konstantinos Tzumakaris
                                       2500 Park Lane

                                       Broomall PA 19008



                                      %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLG
                                       Katherine Tzumakaris
                                       2500 Park Lane

                                       Broomall PA 19008


Debtor’s Attorney:                    %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLG
                                      EUGENE J. MALADY
                                      Eugene J. Malady, LLC
                                      211 N. Olive Street, Suite 1

                                      Media PA 19063


                                      %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLG
                                      EUGENE J. MALADY
                                      Eugene J. Malady, LLC
                                      211 N. Olive Street, Suite 1

                                      Media PA 19063


Trustee:                              %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLG
                                       SCOTT F. WATERMAN (Chapter 13)
                                       Chapter 13 Trustee
                                       2901 St. Lawrence Ave.
                                        Suite 100
                                       Reading PA 19606

                                                            @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                            /s/Tina R. Lyons, a/k/a Tina Lyons
                                                              Vice President
                                                              JPMorgan Chase Bank, N.A.
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